              Case: 1:24-cv-04998 Document #: 28 Filed: 10/15/24 Page 1 of 2 PageID #:847

                      United States District Court Northern District of Illinois
                      MOTION FOR LEAVE TO APPEAR PRO HAC VICE
Case Title:                                                              Plantiff(s)
              INTERNATIONAL CODE COUNCIL, INC. and ICC EVALUATION SERVICE, LLC
                                                                VS.

              DRJ ENGINEERING LLC                                                                Defendant(s)


Case Number: 1:24-cv-04998                               Judge: Honorable John F. Kness


I,   Mayville La Rosa                                                                     hereby apply to the Court


under Local Rule 83.14 for permission to appear and participate in the above-entitled action on behalf of

DRJ ENGINEERING LLC                                                               by whom I have been retained.

I am a member in good standing and eligible to practice before the following courts:
                                        Title of Court                                             Date Admitted
                              WISCONSIN CIRCUIT COURT                                                10/17/2019
                        WISCONSIN EASTERN DISTRICT COURT                                             04/30/2020
                    WISCONSIN EASTERN BANKRUPTCY COURT                                               03/04/2022



I have currently, or within the year preceding the date of this application, made pro hac vice applications to this
Court in the following actions:
                                                                                          Date of Application
     Case Number                                  Case Title                              (Granted or Denied)*




*If denied, please explain:
(Attach additional form if
necessary)
               Case: 1:24-cv-04998 Document #: 28 Filed: 10/15/24 Page 2 of 2 PageID #:848
Has the applicant ever been:

censured, suspended, disbarred, or otherwise disciplined by any court?                Yes                   No       ✔
or is the applicant currently the subject of an investigation of the
applicant’s professional conduct?                                                     Yes                   No       ✔
transferred to inactive status, voluntarily withdrawn, or resigned from the
bar of any court?                                                                     Yes                   No       ✔
denied admission to the bar of any court?                                             Yes                   No       ✔
held in contempt of court?                                                            Yes                   No       ✔
NOTE: If the answer to any of the above questions is yes, please attach a brief description of the incident(s) and the applicant’s current
status before any court, or any agency thereof, where disciplinary sanctions were imposed, or where an investigation or investigations
of the applicant’s conduct may have been instituted.

I have read the Rules of Professional Conduct for the Northern District of Illinois and the Standards for Professional Conduct within
the Seventh Federal Judicial Circuit, and will faithfully adhere to them. I declare under penalty of perjury that the foregoing is true and
correct.


                                                         S/

                 Date                                               Electronic Signature of Applicant

                            Last Name                                          First Name                            Middle Name/Initial
Applicant’s Name
                           LA ROSA                                            MAYVILLE

Applicant’s Law Firm       LAW OFFICE OF MAYVILLE LA ROSA, ESQ

                            Street Address                                                                           Room/Suite Number
Applicant’s Address
                           718 SUGAR MAPLE LN

                            City                         State                 ZIP Code            Work Phone Number and Email
                                                                                                  608-800-7353
                           VERONA                       WI                    53593

(The pro hac vice admission fee is $150.00 and shall be paid to the Clerk. No admission under Rule 83.14 is effective until such
time as the fee has been paid.)


NOTE: Attorneys seeking to appear pro hac vice may wish to consider filing a petition for admission to the general bar of this Court.
The fee for admission to the General Bar is $181.00 The fee for pro hac vice admission is $150.00. Admission to the general bar permits
an attorney to practice before this Court. Pro hac vice admission entitles an attorney to appear in a particular case only. Application for
such admission must be made in each case; and the admission fee must be paid in each case.




         Rev. 08/16/2023
